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TRULINCS 43222424 - DAOUD, ADEL - Unit: CCC-F-A


FROM: Daoud, Mona
TO:43222424
SUBJECT: RE: books pleeeeease!
DATE: 1010412021 01:36:39 PM

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cases even if they get in trouble which I can assure they won't u still won't be able to go home cause u have three serous cases
that u have to fight and theses kind of cases has no chance of winning and u know that u said they didn't do anything for u , this
where u were wrong if it wasn't for them u would've took life in prison from the first court date but they drag it and fight say what
u say about them but they are the best in thier field and know what r they doing they get a lot of Muslim people out people we
know u r not out cause u added 2 more cases to ur self which make it much harder so please adgl please I'm beqging u even
thev said thev won't reoresent no more if this what u want but u don't want them as our enemv we-can't have that we are simr
                      us in fight that no way we can       or win and we r all         Q_ge_t ftltrt he will prove u wrong cause
           them not us and this is the fact and when we will be asked at the court we will sbv that cause it is               so where
that leave-T rlrE                                            die first but wG will cause it is the                    l'm begging u u
have to_-drop thjS ur father anlll ean't sleep at night we ask every Muslim good lawyer we know they all said is wHatT ulloing is
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this happens it will kill us, I'm not asking u to drop it for us do it for ur self whoever told i
to trust u adel how many time they fooled u before and u fell for it if trusted me from the beginning instead of people u met on
the internet none of that would've happened and u would've stayed with us all of this years so now I'm asking to trust on us we
are older than you and we know better cause I can assure if some one was to tell me to do something that sound wrong I
would've tell them to go to hell so u can have a cloud judgment cause u want to go home and they are playing on that but we
see the pictures from out side ,inshallah u will go home the right way not like this I swear to u this won't help u or we won't be
against it l'm begging u to trust us and to listen to us and Oro[ it         *" will get ui-i6iv layer of this what u want I love u adel
so much please listen-to me                                             "nd

ADEL DAOUD on 101312021 7:36:20 PM wrote
wa alaykumus salaam. they let us out at different times everyday, and sometimes we just don't come out. listen to what im
saying. if im right about what im saying, why would the lawyers tell you? i was entrapped and they had no interest in ever
helping me. Durkin told me in my face he wanted my case over with to make more money. i was patient with them for 9 years. lf
what im saying isn't true, then why are they mad? it shouldn't mean anything if im wrong? you didn't do anything wrong, baba
didn't do anything wrong, but they did and they took advantage of you. if you don't see it, that's ok, but i see it. Why would you
trust the lawyers over me? You care about me. but they don't. if they don't care about me, why should i care about them? lf i win
and go home, you're still going to tell me im wrong? insha'Allah I will go home i will win. They are liars, and they don't care
about me. their 6th amendment says i have a right to competent council. this right they said i have has been violated for 9
years. i cannot just fire them. Just for not having their 6th amendment right i could go home. why wouldn't i complain about my
supposed rights being violated? Really they're supposed to go to jail. but they might not go to jail, they might just lose their
license. OR they can give back the money, say sorry, and GO AWAY so i can go home! Remember what im saying.. the lawyers
won't tell you im right. they are the ones that are in trouble. they will never admit it. think about what im saying.. if i am right,
would they tell you? would they admit to you that they extorted you and did crimes and were never sincere about getting me out
of iail? They would never tell you! so don't trust them, trust me! if the motion doesn't mean anything, if what im saying isn't true,
or is crazy, then WHY ARE THEY MAD? just think about it! I love you!
---Daoud, Mona on 1013120211:17 PM wrote:


Salm Alykom u didn't call today I hope there no more trouble than the one we r in now please call we r very worried about u

ADEL DAOUD on913120218:19:39 AM wrote
whenever you order "what did jesus really say" 12315, and "Why our prayers are not answered" 11484 please order for me "El
Cor'an" 6679. jazakillahu khayran
---Daoud, Mona on 8127120218:03 AM wrote:


Salam alykom I saw ur email I will work on it tonight lnshallah
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